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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,


                                            HON. COLLEEN KOLLAR-
                                            KOTELLY
v.
                                            Case No. 22-cr-00170
TREVOR BROWN,

             Defendant.
                                       /

     WAIVER OF IN-PERSON HEARING AND CONSENT TO PROCEED BY ZOOM


      Understanding that I have a right to an in-person proceeding, I, Trevor

Brown, agree to have my competency hearing proceed via Zoom on November 21st

at 3 p.m.



                                            ______________________________
                                            TREVOR BROWN
                                            Central Virginia Regional Jail
                                            13021 James Madison Highway
                                            Orange, VA 22960


                                            Date: _________________________
